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                                                                      FILED
                                                               2024 APR 3 PM 2:45
                                                                    CLERK
 Russell Greer                                                U.S. DISTRICT COURT
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            IN THE UNITED STATES DISTRICT COURT DISTRICT FOR

                    THE DISTRICT OF UTAH, CENTRAL DIVISION



  RUSSELL G. GREER,
                                          PLAINTIFF’S RESPONSE to DOC 105
        Plaintiff
                                             Case No.: 2:20-cv-00647
  v.

  JOSHUA MOON, publisher of the website      Judge David Barlow
  Kiwi Farms, and KIWI FARMS, a website      Magistrate Judge: Jared C. Bennett

        Defendants




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     Plaintiff Russell Greer Plaintiff Russell Greer comes now and says: it is rather humorous that

 Defendants label Plaintiff’s reconsideration motion and his motion to vacate as vexatious, when

 they flagrantly ignored federal procedure and convinced this Court to transfer venue when they

 were time-barred. As Plaintiff said in his Reply to Defendants’ Opposition Response to his

 Motion to Vacate, this is all French to him and this is why he was trying to stay the case because

 procedural confusion was going to happen without a lawyer. The DJF wanted significant funding

 before representing him.

    Unlike the procedure for contesting venue, which is clear in the rules, the procedure for

 vacating a case that has already been transferred is not crystal clear — especially to a pro se

 litigant. Plaintiff is now aware, after reading Chrysler, that the Court can’t revisit transferred

 issues. However, Plaintiff is now enlightened that, per Chrysler and case law in other Circuits,

 this Court should have stayed the transfer to allow Plaintiff to contest the transfer either by a

 Motion to Vacate or an appeal.

     As for the supplemental authority the Defendants attached, the Order from the Florida

 District Court was simply canceling the phone conference until there is finality in this District

 [and Circuit].

      With that said, Plaintiff asks this Court to vacate the Transfer Order and to request the

 Court Clerk to ask the Northern District of Florida to transfer the case back to Utah for the

 reasons previously mentioned in the pending motions. This shouldn’t require a writ of mandamus

 or an appeal or even a “retransfer motion” in the Northern Florida District. As previously cited in

 the persuasive case of Roofing, “Although, in the present case, neither the [10th] Circuit nor any

 district court in it [including the District of Utah] could compel the district court in [Florida] to

 return the files…there is no reason to assume the transferee court [the Northern District of

 Florida] would deny a request for their return.” Roofing & Sheet Metal Services Inc v. La

 Quinta Motor Inns, 689 F.2d 982 (11th Circuit 1982).

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                                    Respectfully submitted,




                                    By:

                                    Russell Greer

                                    Pro Se Litigant

                                    /rgreer

                                    04-03-24




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                                      Certificate of Service


 Plaintiff affirms that service was made to Defendants via the Court’s electronic filing system on
 04-03-24 and that said attorney for defendants is Matthew Hardin.




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